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RN DISTRICT 0F TENNESSEE
wESTERN DIVISION F.';.;j._§;;~ %/D C
UNITED sTATEs 0F AMERICA * 05 AUG 23 *W 8: 55
*
vs. * CR. NO.
*
MIRANDA TUGGLE *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On August 22, 2005, Miranda Tuggle appeared before me on a charge of violation of the
terms and conditions of her supervised release in this matter. The defendant had previously been
advised of her rights under Fed.R.Crirn.P. 5 and 32.1(a), and counsel Was appointed.

At this hearing, the defendant was released on bond and, therefore, a preliminary hearing on

the violation was not required. w United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976) and

 

United States v. Tucker, 524 F.2d 77, 78 (5th Cir. 1975), M._ denied, 424 U.S. 966, 96 S.Ct. 1462,

 

 

47 L.Ed.2d 733 (1976).

Accordingly, defendant, Miranda Tuggle is held to a final revocation hearing before United
States District Judge J on Phipps McCalla. It is presumed that the District Judge will set this matter
for a revocation hearing pursuant to Fed.R.Crim.P. 32.1(b), (c), and will see that appropriate notices

are given.

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TU M. PHAM ‘
UNITED srATES MAGISTRATE JUDGE

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UNITED `sATES DISTRIC COURT - WETERN D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 258 in
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Honorable J on McCalla
US DISTRICT COURT

